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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION

UNITED STATES                        )
                                     )            02 CR 200-22
      v.                             )
                                     )            Judge Rebecca Pallmeyer
ANDRE LAWRENCE                       )

              MOTION FOR LEAVE TO FILE INSTANTER
           AMENDED MOTION FOR REDUCED SENTENCE UNDER
                SECTION 404 OF THE FIRST STEP ACT

      The defendant, ANDRE LAWRENCE, by the Federal Defender

Program and its attorney, Amanda Penabad, respectfully requests that this

Honorable Court grant him leave to file instanter an amended motion for

a reduced sentence under Section 404 of the First Step Act, and also to

formally appoint the Federal Defender Program to represent Mr. Lawrence

in this matter.

      1.     The First Step Act was signed into law on December 21, 2018.

      2.     On January 7, 2019, Mr. Lawrence filed a pro se motion to

reduce his sentence pursuant to the First Step Act. Doc. 1855.

      3.     This Court’s General Order 19-0003, dated January 23, 2019,

ordered that the Federal Defender Program for the Northern District of

Illinois is appointed generally for all cases arising in this District under

Section 404 of the Act where the defendant desires appointment of counsel

and financially qualifies for such appointment.
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      4.     Mr. Lawrence has communicated to undersigned counsel that

he desires the Federal Defender Program to be appointed to represent him

on his requested relief under the Act.

      5.     Mr. Lawrence is currently incarcerated in the BOP, so it

appears that he also financially qualifies for the appointment of the Federal

Defender Program.

      6.     Upon undersigned counsel’s review of Mr. Lawrence’s pro so

filing, she believes that filing an amended motion would best represent Mr.

Lawrence and also assist the Court in ruling on his requested relief.

Therefore, the defense is now seeking leave to file an amended motion

instanter.

      7.     The government has no objection to the defense filing an

amended motion instanter.
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      WHEREFORE, based on the foregoing, Mr. Lawrence respectfully

requests that this Court grant him leave to file instanter an amended

motion for a reduced sentence under Section 404 of the First Step Act, and

also to formally appoint the Federal Defender Program to represent Mr.

Lawrence in this matter.


                                     Respectfully submitted,
                                     FEDERAL DEFENDER PROGRAM
                                     John Murphy,
                                     Executive Director

                                     By: /s/ Amanda G. Penabad
                                          Amanda G. Penabad

AMANDA G. PENABAD
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                        CERTIFICATE OF SERVICE

The undersigned, Amanda G. Penabad, an attorney with the Federal
Defender Program hereby certifies that in accordance with FED.
R.CIV.P5,LR5.5, and the General Order on Electronic Case Filing (ECF),
the following documents(s):

             MOTION FOR LEAVE TO FILE INSTANTER
        AMENDED MOTION FOR REDUCED SENTENCE UNDER
             SECTION 404 OF THE FIRST STEP ACT

Was served pursuant to the district court’s ECF system as to ECF filing, if
any, and were sent by first- class mail/ hand delivery on March 14, 2019
to counsel/ parties that are non-ECF filers.


                               By:    s/ Amanda G. Penabad
                                       Amanda G. Penabad
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